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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

STATE OF TEXAS, et al.,
   Plaintiffs,
v.
                                                                 No. 6:23-cv-13
BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND
EXPLOSIVES, et al.,
   Defendants.

     ORDER GRANTING UNOPPOSED MOTION FOR WITHDRAWAL OF COUNSEL

         On this date, the Court considered Plaintiffs’ Unopposed Motion to Withdraw

  Leif A. Olson as Counsel. After considering the Motion, the Court is of the opinion that

  the Motion should be GRANTED.

         Accordingly, it is ORDERED, ADJUDGED and DECREED that Leif A. Olson is

  hereby withdrawn as counsel of record and Charles K. Eldred is listed as lead counsel

  for the Plaintiffs.

         SO ORDERED and SIGNED this ___ day of ____________, 2023.



                                         United States District Judge




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